   Case: 1:17-cv-08291 Document #: 121 Filed: 04/04/19 Page 1 of 2 PageID #:782



           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

DEISY JAIMES, et al.,                     )
                                          )
           Plaintiffs,                    )         Case No. 17-cv-08291
                                          )
           v.                             )
                                          )         Hon. Judge Jorge L. Alonso
COOK COUNTY, et al.,                      )         Hon. Sidney I. Schenkier
                                          )
           Defendants.                    )         JURY TRIAL DEMANDED

                              NOTICE OF MOTION

       Please take notice that on Wednesday, April 10, 2019 at 9:30 a.m. or as soon
thereafter as counsel may be heard, counsel for Plaintiffs shall appear before Judge
Alonso in the court room usually occupied by him at 219 South Dearborn, Chicago,
Illinois and then and there present Plaintiffs’ Motion to Substitute Special
Representative for Defendant Estate of Erika Aguirre.


                                              Respectfully submitted,

                                              /s/ Katie Roche
                                              Attorney for Plaintiffs

Arthur Loevy
Jon Loevy
Michael Kanovitz
Katie Roche
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                          CERTIFICATE OF SERVICE

       I, Katie Roche, an attorney, certify that on April 4, 2019, I caused the
foregoing Notice of Motion to be filed using the Court’s CM/ECF system, which
effected service on all counsel of record.


                                             /s/ Katie Roche
                                             Attorney for Plaintiff
